Case 5:20-cv-02332-JWH-KK Document 28-6 Filed 02/19/21 Page 1 of 3 Page ID #:266




                        EXHIBIT D
Case 5:20-cv-02332-JWH-KK Document 28-6 Filed 02/19/21 Page 2 of 3 Page ID #:267
                                                              Friday, February 12, 2021 at 15:20:39 Paciﬁc Standard Time


Subject:    Re: Request for Arbitra0on - Heredia/Diaz
Date:       Friday, October 2, 2020 at 1:42:39 PM Paciﬁc Daylight Time
From:       Alex Safyan
To:         CSAC@DCA, Blackstock, Patrisha@DCA, Cornejo, Sophia@DCA
CC:         James Greeley
ABachments: 2020-10-2 Diaz response to Heredia arbitra0on request.pdf, 2020-10-2 Declara0on of Joseph
            Diaz, Jr..pdf, 2020-10-2 Declara0on of Alexander R. Safyan.pdf, image001.png, image002.png

Dear Ms. Blackstock:

Please ﬁnd aVached our response on behalf of Mr. Diaz as well as declara0ons from Mr. Diaz and me in
support of the response.

Regards,
Alex Safyan


Alexander R. Safyan | Litigation Partner




t: 424.256.8296 | www.vgcllp.com

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From: "Blackstock, Patrisha@DCA" <Patrisha.Blackstock@dca.ca.gov>
Date: Thursday, September 3, 2020 at 10:57 AM
To: Alex Safyan <asafyan@vgcllp.com>, "Cornejo, Sophia@DCA" <Sophia.Cornejo@dca.ca.gov>
Cc: James Greeley <jgreeley@vgcllp.com>
Subject: Re: Request for Arbitra0on - Heredia/Diaz

Mr. Safyan,

Your request for an extension until end of business day Friday, October 2nd is approved.

Thank you,

Patrisha Blackstock
Associate Governmental Program Analyst
California State Athletic Commission




                                                                                                                              Page 1 of 2
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From: Alex Safyan <asafyan@vgcllp.com>
Sent: Wednesday, September 2, 2020 4:41 PM
To: Blackstock, Patrisha@DCA <Patrisha.Blackstock@dca.ca.gov>; Cornejo, Sophia@DCA
<Sophia.Cornejo@dca.ca.gov>
Cc: James Greeley <jgreeley@vgcllp.com>
Subject: Request for Arbitra0on - Heredia/Diaz

[EXTERNAL]: asafyan@vgcllp.com

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Dear Ms. Blackstock:

Our ﬁrm has been retained by Joseph Diaz, Jr. in connec0on with the arbitra0on request by his manager-of-
record, Moses Heredia. Mr. Diaz has forwarded us your email to him dated August 24, 2020 containing Mr.
Heredia’s request for arbitra0on and declara0on. Based on the response deadline set forth in California Code
of Regula0ons sec0on 227, we understand that Mr. Diaz’s current deadline to respond to the arbitra0on
request is Sunday, September 13, 2020. We plan to prepare a fulsome response on Mr. Diaz’s behalf and look
forward to presen0ng his case at the arbitra0on. Because we have just been retained and need some
addi0onal 0me to review all the relevant materials and prepare, I write to ask for a modest extension to
submit Mr. Diaz’s response, from Sunday, September 13, 2020 to Friday, October 2, 2020.

Please let me know if this is acceptable and if there is any other informa0on we need besides the email you
sent to Mr. Diaz on August 24, 2020.

Best regards,
Alex Safyan


Alexander R. Safyan | Litigation Partner




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